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                                                                                    v.'i CO'.:;*. I
               IN THE UNITED STATES DISTRICT COURT FOR                                    131";.
                    THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION                                        PH

UNITED STATES OF AMERICA
                                                                  1   •

                                                                           CO. Oij'l'. Or
V.

                                                       CASE NO. CR106-092
DEMETRIUS FREEMAN,

        Defendant.




                                     ORDER


       Before the Court is Defendant's Motion Due to Breach of


Plea    Agreement      (Doc.    192},       to   which     the    Government                has

responded (Doc. 193). In his motion. Defendant "request[s

that] his sentence [is] vacated due to the breach of [his

plea agreement" by the Government. (Doc. 192 at 3.) Defendant

asserts that the Government failed to correct an error made

in     the    calculation       of    his    sentencing          guidelines             and,

therefore, breached the plea agreement in his case. (Id. at

1-2.) After careful consideration,                     Defendant's          request is

DENIED.


       Despite       the   labeling     of       his    motion.           Defendant          is

essentially raising a collateral challenge to his federal

sentence. "It is well-settled that a [28 U.S.C. § 2255] motion

is the exclusive remedy for a federal prisoner to collaterally

attack       his   conviction    or   sentence         . . . ." Antonelli                    v.

Warden, U.S.P. Atlanta, 542 F.3d 1348, 1352 n.l (11th Cir.
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